
Barbera, C.J., Greene, Adkins, McDonald, Watts, Hotten, JJ.
ORDER
The Court having considered the recommendations of the Character Committee for the Third Appellate Circuit of Maryland and the State Board of Law Examiners, and the oral argument of the applicant presented at a show cause hearing held before this Court on January 4, 2018, it is this 5th day of January, 2018,
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that the favorable recommendations of the Character Committee for the Third Appellate Circuit, and of the State Board of Law Examiners be, and are hereby accepted, and it is further
ORDERED, that the applicant, upon taking the oath prescribed by the statute, be admitted to the practice of law in this State.
Judge Getty did not participate in the consideration of this matter.
